                                         UNITED STATES DISTRICT COURT
                      Case 2:06-cr-00476-MCE  DocumentOF
                                      EASTERN DISTRICT 30CALIFORNIA
                                                           Filed 05/09/07 Page 1 of 1

UNITED STATES OF AMERICA                      )
                                              )                   Case No. 2:06-cr-00476- MCE
             v.                               )
                                              )
RASHAWN JACKSON, et al.,                      )
_____________________________________________ )

                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               ( ) Ad Testificandum

Name of Detainee:                Nicholas Lejon RAPIER, X-Ref. No. 1797283

Detained at (custodian):         Sacramento County Main Jail, 651 I Street, Sacramento, California 95814

Detainee is:               a.)   (X) charged in this district by: (X) Indictment () Information

                 or        b.)   (_) a witness not otherwise available by ordinary process of the Court

Detainee will:             a.)   (_) return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges.

         Appearance is necessary forthwith in the Eastern District of California for arraignment on the federal Indictment
in this case.

                                 Signature:                       /s/ Jason Hitt
                                 Printed Name & Phone No:         Jason Hitt 916-554-2751
                                 Attorney of Record for:          United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 (_) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

 Dated: May 8, 2007

                                                         ________________________________
                                                         MORRISON C. ENGLAND, JR.
                                                         UNITED STATES DISTRICT JUDGE
________________________________________________________________________________________________
Please provide the following, if known:
AKA(s) (if applicable):          BUNK, RAPIER; RAPIER, NICHOLAS, etc.                     X Male Female
Booking or CDC #:                X-Ref. No. 1797283
Facility Address:                Sacramento County Main Jail
                                 651 I Street
                                 Sacramento, California 95814
Facility Phone:                  916-874-6752
Currently Incarcerated For:      State parole violations
_________________________________________________________________________________________________
                                                   RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
